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                     IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                        )
                                                 )
                      Plaintiff,                 )
                                                 )
       vs.                                       )
                                                 )                   8:05CR94
JUAN GARCIA,                                     )
JOSE ELIAS GARCIA,                               )                    ORDER
LEONARDO VARGAS-GONZALEZ,                        )
and THOMAS WILSON,                               )
                                                 )
                      Defendants.                )


      This matter is before the court on the MOTION TO CONTINUE TRIAL [280] filed by
defendant, Thomas Wilson. Defendant has filed a waiver of speedy trial pursuant to
NECrimR 12.1. For good cause shown, trial will be continued to Tuesday, January 16,
2007.

       IT IS ORDERED that the motion to continue trial [280] is granted, as follows:

       1. Trial of this matter is continued from November 7, 2006 to January 16, 2007
before Judge Laurie Smith Camp and a jury.

        2. In accordance with 18 U.S.C. § 3161(h)(A), I find that the ends of justice will be
served by granting such motion and outweigh the interests of the public and the defendant
in a speedy trial. The additional time arising as a result of the granting of the motion, i.e., the
time between November 7, 2006 and January 16, 2007, shall be deemed excludable time
in any computation of time under the requirement of the Speedy Trial Act, 18 U.S.C. § 3161
because counsel require more time to effectively prepare the case, taking into account the
complexity of this matter and the exercise of due diligence. The failure to grant additional
time might result in a miscarriage of justice. 18 U.S.C. § 3161(h)(8)(A) & (B).

       DATED October 13, 2006.

                                             BY THE COURT:

                                             s/ F.A. Gossett
                                             United States Magistrate Judge
